                            MEMO ENDORSED
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   October 27, 2020

   VIA ECF
   Honorable Katherine Polk Failla
   United States District Judge
   Southern District of New York
   United States Courthouse
   40 Foley Square
   New York, New York 10007

          Re:    United States v. Joel Rosquette, 18 CR 225 (KPF)

   Dear Judge Failla:


   With the consent of the government, I write to seek an adjournment of Mr. Rosquette’s
   sentencing, currently scheduled for November 17, 2020. The adjournment is needed so
   that I can continue to concur with Mr. Rosquette about sentencing and mitigation
   arguments and so that I can effectively prepare a submission on his behalf. To
   accommodate my work and personal schedule, I ask for an adjourned date during the
   second week of January 2021.

   Thank you.

   Respectfully submitted,
   /s/ JULIA GATTO
   Julia L. Gatto
   Assistant Federal Defender
   212.417.8750

   cc:    AUSA Adam Hobson (via ECF)
Application GRANTED, with the caveat that the Court is disinclined
to grant further adjournments. Sentencing is hereby ADJOURNED to
January 13, 2021, at 3:00 p.m. in Courtroom 618 of the Thurgood
Marshall Courthouse, 40 Foley Square, New York, NY.
                                                        SO ORDERED.


Dated:   October 27, 2020
         New York, New York
                                                        HON. KATHERINE POLK FAILLA
                                                        UNITED STATES DISTRICT JUDGE
